                    IN THE SUPREME COURT OF NORTH CAROLINA

                                       2021-NCSC-36

                                         No. 480A20

                                     Filed 16 April 2021

     IN RE INQUIRY CONCERNING A JUDGE, NO. 19-225



     WILLIAM F. BROOKS, Respondent


           This matter is before the Court pursuant to N.C.G.S. §§ 7A-376 and -377 upon

     a recommendation by the Judicial Standards Commission entered 27 October 2020

     that respondent William F. Brooks, a Judge of the General Court of Justice, District

     Court Division, Judicial District Twenty-Three, be censured for conduct in violation

     of Canons 1, 2A, 5D, and 6C; and for conduct prejudicial to the administration of

     justice and for willful misconduct in office in violation of N.C.G.S. § 7A-376. Heard

     in the Supreme Court on 17 February 2021 without oral argument pursuant to Rule

     30(f) of the North Carolina Rules of Appellate Procedure.


           No counsel for Judicial Standards Commission or Respondent.


                                 ORDER OF SUSPENSION

¶1         The Judicial Standards Commission has unanimously recommended that this

     Court should censure Judge William F. Brooks for violations of Canons 1, 2A, 5D, and

     6C amounting to conduct that was prejudicial to the administration of justice and

     that constituted willful misconduct in office. Pursuant to N.C.G.S. § 7A-376 and -
                                         IN RE BROOKS

                                          2021-NCSC-36

                                        Order of the Court



     377, it is our duty first to independently review the record to determine whether the

     Commission’s findings of fact are supported by clear and convincing evidence and

     whether the findings support the conclusions of law; and then to exercise our

     independent judgment to consider whether the Commission’s proposed sanctions are

     appropriate. See In re Murphy, 376 N.C. 219, 235 (2020) (citing In re Badgett, 362

     N.C. 202, 207 (2008)).

¶2         On 17 January 2020, Counsel for the Commission filed a Statement of Charges

     against respondent alleging that he engaged in conduct prejudicial to the

     administration of justice that brings the judicial office into disrepute and willful

     misconduct in office “by serving as executor for the estates of two former clients that

     were not members of respondent’s family, collecting substantial fees or commissions

     for such service, and failing to properly report that income.” The Commission charged

     that these actions in general violated Canons 1 and 2A of the North Carolina Code of

     Judicial Conduct. The Commission further charged that respondent’s actions in

     serving as executor of the estates for people not members of his family violated Canon

     5D and that his failure to report extra-judicial income in excess of $2,000 violated

     Canon 6C.

¶3         Respondent filed a response on 5 March 2020 admitting that he served as a

     personal representative for the estates of two former family friends, who were clients,

     not members of his family; that he collected fees for such service; and that he
                                   IN RE BROOKS

                                    2021-NCSC-36

                                  Order of the Court



inadvertently failed to disclose the receipt of said fees on his 2016 Judicial Income

Report and his Statement of Economic Interest for the same year. On 13 May 2020,

Counsel for the Commission and Counsel for respondent filed a Stipulation and

Agreement for Stated Disposition which contained the following stipulated facts:

             1. On or about April 3, 2009, Respondent, prior to his
                appointment as District Court Judge and while still in
                engaged in the private practice of law, prepared and
                executed wills for two clients, Robert and Mary Grace
                Crawford. Each will also designated the Respondent as
                the executor of the respective will. Respondent had no
                familial relationship with either Robert or Mary Grace
                Crawford.

             2. On or about October 2, 2013, Respondent was appointed
                to serve as a District Court Judge in Judicial District
                23. Respondent received a copy of the Code of Judicial
                Conduct and ethics training during Orientation for New
                District Court Judges in early December 2013.

             3. On or about March 9, 2014, Robert Crawford passed
                away. Mary Grace Crawford subsequently died on
                November 29, 2014. While serving as District Court
                Judge, Respondent also served as executor of both wills.
                In that capacity, Respondent admitted both wills to
                probate and filed inventories and accountings with
                Wilkes County Clerk of Superior Court until both
                estates were closed in 2017.

             4. At the time Respondent carried out his functions as the
                executor of the Crawford estates, Respondent knew or
                should have known that the Code of Judicial Conduct
                prohibited him from serving as the executor or any type
                of fiduciary for individuals other than members of
                Respondent’s family. Respondent had known the
                Crawfords for many years and considered them to be
                like family, but acknowledges he was not related to
                                  IN RE BROOKS

                                   2021-NCSC-36

                                 Order of the Court



               them by blood or marriage.

            5. During the week of March 14, 2016, Respondent was
               compensated with a $2,550 commission for serving as
               executor of Robert Crawford’s estate and a $85,320.77
               commission for serving as executor of Mary Grace
               Crawford’s estate.

            6. Respondent failed to disclose the extra-judicial income
               he earned from serving as the executor for Robert
               Crawford and Mary Grace Crawford in 2016 on his
               Canon 6 Extra-Judicial Income report for the 2016
               calendar year and on his Statement of Economic
               Interest (SEI) filed with the State Ethics Commission
               for the 2016 calendar year.

            7. Respondent knew or should have known that he was
               required to report the extra-judicial income he received
               from serving as an executor on both his Canon 6 and
               SEI disclosures. Respondent has now amended both his
               Canon 6 and Extra-judicial Income Report and SEI for
               2016 calendar year to reflect his additional income.

            8. The parties stipulate that the foregoing findings are
               established by clear and convincing evidence and agree
               that the factual and evidentiary stipulations shall
               constitute the entire evidentiary record in this matter
               for consideration by the hearing panel and that no other
               evidence will be introduced at the disciplinary
               recommendation hearing by either party.

The parties further made the following Stipulations of Violations of the Code of

Judicial Conduct:

            1. Respondent acknowledges that the factual stipulations
               contained herein are sufficient to prove by clear and
               convincing evidence that he violated the following
               provisions of the North Carolina Code of Judicial
               Conduct:
                                         IN RE BROOKS

                                         2021-NCSC-36

                                        Order of the Court



                     a. he failed to personally observe appropriate
                        standards of conduct to ensure that integrity of
                        judiciary is preserved in violation of Canon 1 of the
                        North Carolina Code of Judicial Conduct;

                     b. he failed to respect and comply with the law and
                        conduct himself at all times in a manner that
                        promotes public confidence in the integrity and
                        impartiality of the judiciary in violation of Canon 2A
                        North Carolina Code of Judicial Conduct;

                     c. he served as executor, administrator, trustee,
                        guardian, or other fiduciary for estates of people who
                        were not a member of Respondent’s family in
                        violation of Canon 5D of the North Carolina Code of
                        Judicial Conduct; and

                     d. he failed to report extra-judicial income in excess of
                        $2,000 in violation of Canon 6C of North Carolina
                        Code of Judicial Conduct.

                  2. Respondent further acknowledges that the stipulations
                     contained herein are sufficient to prove by clear and
                     convincing evidence that his actions constitute willful
                     misconduct in office and that he willfully engaged in
                     misconduct prejudicial to the administration of justice
                     which brought the judicial office in disrepute in
                     violation of N.C. Gen. Stat.§ 7A-376.

¶4         The Judicial Standards Commission held a hearing in this matter on 11

     September 2020 at which the above stipulations were read into the record by the

     Commission’s counsel. Respondent, who was present and represented by counsel,

     made a brief statement accepting responsibility for his actions, acknowledging they

     were wrong, and apologizing for his actions while also explaining that “I just did not

     realize for whatever reason that this could not be done.”
                                         IN RE BROOKS

                                          2021-NCSC-36

                                        Order of the Court



¶5         The Commission issued its Recommendation of Judicial Discipline on 27

     October 2020.    Based on the stipulated facts and the associated exhibits, the

     Commission made findings of fact that include verbatim the stipulated facts as well

     as additional detail about respondent’s completion of the required Canon 6 Report

     and SEI. Specifically, the Commission found that in his Canon 6 Report, respondent

     “affirmatively indicated ‘None’ in the column asking him to identify any source of

     extra-judicial income of more than $2,000 for 2016. On his SEI “No Change Form”

     for the calendar year 2016, respondent “affirmatively acknowledged that he read and

     understood N.C.G.S. § 138A-26 regarding concealing or failing to disclose material

     information and further acknowledged that knowingly concealing or failing to

     disclose information that is required to be disclosed is a Class I misdemeanor.”

¶6         Based on these findings of fact, the Commission made the following

     Conclusions of Law:

                  1.     Canon 5D of the Code of Judicial Conduct expressly
                  prohibits judges from serving as “the executor,
                  administrator, trustee, guardian or other fiduciary, except
                  for the estate, trust or person of a member of the judge’s
                  family, and then only if such service will not interfere with
                  the proper performance of the judge’s judicial duties.” The
                  Commission concludes that Respondent violated Canon 5D
                  by serving as the executor of the two Crawford estates
                  notwithstanding that fact that he knew or should have
                  known that such service was expressly prohibited.

                  2.    Canon 6C of the Code of Judicial Conduct requires
                  judges to make a public report each year of “the name and
                  nature of any source or activity from which the judge
                        IN RE BROOKS

                         2021-NCSC-36

                       Order of the Court



received more than $2,000 in income during the calendar
year for which the report is filed.” Canon 6C ensures
“transparency in a judge’s financial and remunerative
activities outside of the judicial office to ascertain potential
conflicts of interest, avoid corruption and maintain public
confidence in the impartiality, integrity and independence
of the state’s judiciary.” In re Mack, 369 N.C. 236, 242, 794
S.E.2d 266, 270 (2016) (adopting the Commission’s findings
and conclusions).        The Commission concludes that
Respondent violated Canon 6C by affirmatively
representing on his Canon 6 Report that he had no outside
income to report for 2016 when he knew that he had
received nearly $90,000 in outside income due to his service
as the executor of the Crawford estates.

3.     Canon 2A of the Code of Judicial Conduct requires
that “[a] judge should respect and comply with the law and
should conduct himself/herself at all times in a manner
that promotes public confidence in the integrity and
impartiality of the judiciary.” As a judge of the General
Court of Justice, Respondent is a “covered person” under
the State Government Ethics Act and is required to file a
Statement of Economic Interest (SEI) with the State Ethics
Commission by April 15 of each year. See N.C.G.S. §138A-
3(21), § 138A-22. In executing his SEI “No Change Form”
on March 31, 2017 under penalty of perjury, Respondent
affirmatively represented that he had no changes in income
to report for 2016, acknowledged that he read and
understood N.C.G.S. §138A-26 regarding concealing or
failing to disclose material information and further
acknowledged that knowingly concealing or failing to
disclose information that is required to be disclosed is a
Class 1 misdemeanor. At the time Respondent made those
representations, he knew he had earned nearly $90,000 in
additional income in 2016. By failing to disclose his outside
income on the SEI as required by state law, Respondent
failed to “respect and comply with the law” and further
failed to conduct himself “in a manner that promotes public
confidence in the integrity . . . of the judiciary” and
therefore violated Canon 2A of the Code of Judicial
                       IN RE BROOKS

                        2021-NCSC-36

                      Order of the Court



Conduct.

4.     Canon 1 of the Code of Judicial Conduct requires
that a judge must “participate in establishing,
maintaining, and enforcing, and should personally observe,
appropriate standards of conduct to ensure that the
integrity and independence of the judiciary shall be
preserved.” The Commission concludes that Respondent
violated Canon 1 because he failed to observe appropriate
standards of conduct to preserve the integrity of the
judiciary when he failed to disclose his significant outside
income in 2016 on both his Canon 6 Form and SEI when he
knew that such reporting was required under the Code of
Judicial Conduct and state law, respectively.

5.     The Preamble to the Code of Judicial Conduct
provides that a “violation of this Code of Judicial Conduct
may be deemed conduct prejudicial to the administration
of justice that brings the judicial office into disrepute, or
willful misconduct in office, or otherwise as grounds for
disciplinary proceedings pursuant to Article 30 of Chapter
7A of the General Statutes of North Carolina.” In addition,
Respondent has stipulated not only to his violations of the
Code of Judicial Conduct, but also to a finding that his
conduct amounted to conduct prejudicial to the
administration of justice and willful misconduct in office.
The Commission in its independent review of the
stipulated facts and exhibits and the governing law also
concludes that Respondent’s conduct rises to the level of
conduct prejudicial to the administration of justice and
willful misconduct in office.

6.      The Supreme Court defined conduct prejudicial to
the administration of justice in In re Edens, 290 N.C. 299,
226 S.E.2d 5 (1976) as “conduct which a judge undertakes
in good faith but which nevertheless would appear to an
objective observer to be not only unjudicial conduct but
conduct prejudicial to the public esteem for the judicial
office.” Id. at 305, 226 S.E.2d at 9. As such, rather than
evaluate the motives of the judge, a finding of conduct
                       IN RE BROOKS

                        2021-NCSC-36

                      Order of the Court



prejudicial to the administration of justice requires an
objective review of “the conduct itself, the results thereof,
and the impact such conduct might reasonably have upon
knowledgeable observers.” Id. at 306, 226 S.E.2d at 9(internal citations and quotations omitted). Respondent’s
objective conduct in impermissibly serving as an executor
for the Crawford estates, collecting nearly $90,000 in fees
for such service and then affirmatively representing on his
Canon 6 Report that he had no outside income to report, as
well as his action in affirmatively filing a “No Change
Form” with the State Ethics Commission that concealed
his income, constitutes conduct prejudicial to the
administration of justice that brings the judicial office into
disrepute. Such conduct could reasonably be perceived as
an attempt to hide from public scrutiny the significant
income he received from engaging in an activity expressly
prohibited by the Code of Judicial Conduct.

7.     The Supreme Court in In re Edens defined willful
misconduct in office as “improper and wrong conduct of a
judge acting in his official capacity done intentionally,
knowingly and, generally, in bad faith. It is more than a
mere error of judgment or an act of negligence. While the
term would encompass conduct involving moral turpitude,
dishonesty, or corruption, those elements need not
necessarily be present.” 290 N.C. at 305, 226 S.E.2d at 9.
As further set forth by the Supreme Court in In re Nowell,
293 N.C. 235, 237 S.E.2d 246 (1977), a judge’s “specific
intent to use the powers of the judicial office to accomplish
a purpose which the judge knew or should have known was
beyond the legitimate exercise of his authority constitutes
bad faith.” 293 N.C. at 248, 237 S.E.2d at 255 (internal
citations omitted). The undisputed facts at issue in this
matter establish that Respondent’s conduct was the result
of more than a mere error of judgment or act of negligence.
Even assuming Respondent did not act in bad faith in
violating Canon 5D (notwithstanding his admission that he
received a copy of the Code of Judicial Conduct and
attended training on it as a new judge), Respondent
without question knew that as a judge of the General Court
                                          IN RE BROOKS

                                          2021-NCSC-36

                                         Order of the Court



                  of Justice, the duties of his judicial office required him to
                  file annual reports that would disclose for public scrutiny
                  his sources of outside income. Despite earning nearly
                  $90,000 in extra income in 2016, Respondent in his
                  capacity as a judicial officer affirmatively and knowingly
                  represented in public financial disclosure that he had no
                  new reportable income. Such conduct amounts to willful
                  misconduct in office.

     As mitigating factors, the Commission found that respondent cooperated, admitted

     error and showed remorse. Additionally, as the Commission found, the conduct at

     issue here appears to be a single event and not a pattern of recurring misconduct.

     Subsequent to the Statement of Charges, Respondent amended the public reports at

     issue to reflect his outside income for 2016. The Commission found as aggravating

     factors the fact that the amount of outside income was large, making his failure to

     disclose it particularly egregious, and the fact that the income came from activity

     expressly prohibited in Canon 5D of the Code of Judicial Conduct. In light of the

     findings of fact and conclusions of law, and taking into account the mitigating and

     aggravating factors, the Commission recommended that respondent be censured.

¶7         In this matter, we proceed as a court of original jurisdiction rather than an

     appellate court. In re Clontz, 376 N.C. 128, 140 (2020) (citing In re Hill, 357 N.C. 559,

     564 (2003)). We are not bound by the Commission’s recommendations, but rather

     must exercise our own independent judgment when considering the evidence. Id.
     (citing In re Nowell, 293 N.C. 235, 244 (1977)). Here, the Commission’s findings were

     based on stipulated facts and exhibits, and they are uncontested. After reviewing the
                                            IN RE BROOKS

                                            2021-NCSC-36

                                           Order of the Court



       full record, we conclude that the Commission’s findings of fact are supported by clear

       and convincing evidence, and we adopt them as our own without exception.

¶8           We also adopt the Commission’s conclusions of law as appropriately supported

       by those facts. Both the prohibition on serving as a personal representative for the

       estate of a non-family member and the reporting requirements for extra-judicial

       income are explicit in the relevant governing authorities and respondent’s failure to

       abide by them constitutes “conduct prejudicial to the administration of justice that

       brings the judicial office into disrepute.” N.C.G.S. § 7A-376(b).

¶9           Where we depart from the Commission is in the determination of an

       appropriate resolution. We agree with the Commission that a public reprimand is

       not appropriate because the misconduct in this matter is not “minor.” See N.C.G.S. §

       7A-374.2(7) (public reprimand appropriate where misconduct is minor). And we

       appreciate the mitigating factors that exist here, particularly concerning defendant’s

       cooperation with the Commission and his near-immediate acknowledgment of the

       impropriety of his conduct.

¶ 10         Nevertheless, we must view this matter keeping in mind that the central

       purpose of the Code of Judicial Conduct, as articulated in the Preamble, is to uphold

       an “independent and honorable judiciary” for the people of North Carolina. In In re

       Mack¸ 369 N.C. 236 (2016), where the respondent judge was publicly reprimanded for

       failing to report non-judicial income, the activity the judge engaged in, namely
                                           IN RE BROOKS

                                            2021-NCSC-36

                                           Order of the Court



       renting residential property, was not an activity that itself is prohibited conduct.

       Judges are permitted under the Code of Judicial Conduct to own and realize a profit

       from rents, so long as the income is properly disclosed. Here, the Code of Judicial

       Conduct explicitly prohibits the activity that produced the non-reported income.

       Further, the estates were settled in respondent’s own judicial district with

       respondent seeking and receiving a significant commission for serving as executor.

       This is an additional aggravating factor that created the appearance of a lack of

       judicial independence. Cf. In re Badgett, 362 N.C. 202, 209 (2008) (imposing a sixty-

       day suspension where some of the conduct occurred in the courtroom “which gave rise

       to the unavoidable inference that [the judge] sought to use the powers of his position

       to obtain a personal favor which was beyond the legitimate exercise of his

       authority.”). Respondent’s conduct here was a willful violation that was prejudicial

       to the administration of justice and brought the judicial office into disrepute.

¶ 11         In In re Chapman, 371 N.C. 486 (2018), this Court imposed a thirty-day

       suspension even though the conduct in question did not result in a financial gain for

       the judge, and where the judge cooperated with the Commission, entered into a

       stipulation of facts, took responsibility for his actions, and expressed remorse. Id.,
       371 N.C. at 496. Nevertheless, by unreasonably delaying for five years his ruling on

       a motion for permanent child support, the judge in that case committed egregious

       misconduct requiring more than a censure.
                                           IN RE BROOKS

                                           2021-NCSC-36

                                          Order of the Court



¶ 12         Similarly, in In re Badgett, this Court went beyond the Commission’s

       recommendation of censure to impose a suspension because the judge’s misconduct

       was “of a significantly greater magnitude than that present in other recent cases

       where we have held censure to be appropriate.” 362 N.C. at 208; see also In re Hill,

       357 N.C. 559 (2003) (censuring judge for verbally abusing an attorney and for sexual

       comments and horseplay); In re Brown, 356 N.C. 278 (2002) (censuring judge when

       on two occasions, the judge caused his signature to be stamped on orders for which

       he did not ascertain the contents and effect); In re Stephenson, 354 N.C. 201 (2001)

       (censure imposed when the judge solicited votes for his reelection from the bench); In

       re Brown, 351 N.C. 601 (2000) (censure appropriate when the judge consistently

       issued improper verdicts).

¶ 13         In the circumstances of this case it is our judgment that, after weighing the

       severity of defendant’s conduct with his candor, cooperation, remorse, and otherwise

       good character, a one-month suspension is appropriate. At the conclusion of the

       suspension, respondent may resume the duties of his office.

¶ 14         The Supreme Court of North Carolina orders that respondent William F.

       Brooks be, and is hereby, SUSPENDED without compensation from office as a Judge

       of the General Court of Justice, District Court Division, Judicial District Twenty-

       Three, for THIRTY DAYS from the entry of this order for conduct in violation of

       Canons 1, 2A, 5D, and 6C of the North Carolina Code of Judicial Conduct and for
                                      IN RE BROOKS

                                       2021-NCSC-36

                                      Order of the Court



conduct prejudicial to the administration of justice that brings the judicial office into

disrepute and willful misconduct in office in violation of N.C.G.S. § 7A-376.



      By order of the Court in Conference, this the 16th day of April 2021.



                                                           s/Berger, J.
                                                           For the Court


          WITNESS my hand and the seal of the Supreme Court of North Carolina,

   this the 16th day of April 2021.



                                                           AMY L. FUNDERBURK

                                                           Clerk of the Supreme Court



                                                           s/Amy L. Funderburk
